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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :


             v.                                :      21-CR-151-CKK


BARTON SHIVELY                                 :

        SUPPLEMENT TO MOTION FOR ORDER OF RECUSAL AND
    DISQUALIFICATION AND REASSIGNMENT TO ANOTHER JUDGE IN
                         THE DISTRICT

      The developments at the February 24, 2023 hearing only reinforce the need for

this Court to disqualify itself from Barton Shively’s sentencing hearing because the

Court’s impartiality and fairness “might reasonably be questioned” by an objective

observer, and because Mr. Shively is prejudiced as a result of the Court’s actions.1

Department of Corrections (“DOC”) records – whether the ones received directly by

this Court and provided to the parties on February 1, 2023, the day before Mr.

Shively’s sentencing hearing or similar ones received last week by U.S. Probation –

are only available to be considered at sentencing because of the Court’s own proactive

steps to enable consideration of DOC disciplinary records – steps taken after the

Court learned of a concerning incident involving January 6 defendants housed within




1Counsel addresses prejudice because the Court seemed to address the issue of harm
at the February 24, 2023 hearing. Yet, to be clear, the statute does not require
prejudice or harm to the party who raises recusal based under § 455(a). Rather, the
district judge “shall disqualify [her]self in any proceeding in which [her] impartiality
might reasonably be questioned.” 28 U.S.C. § 455.
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the DOC and after the Court determined that it did not have, and wanted, any extant

DOC disciplinary records relating to Mr. Shively.

      Mr. Shively contended in his motion that there is an appearance of bias and

partiality by the Court. His observation and contention are objectively reasonable.

The two sets of DOC records, whether identical as is likely or not, are intrinsically

linked together and inextricably linked to actions and decisions by this Court to have

the records available to it in sentencing Mr. Shively. After February 24th, there are

no doubts as to that improper appearance, and, accordingly, this Court must recuse

and disqualify itself from his sentencing hearing.

      While the timeline is unclear, what is clear is that the Court itself contacted

the Department of Corrections to request records that relate to Mr. Shively’s

disciplinary record at DOC, and that this contact occurred after the Court received

information about some problems among January 6 defendants within DOC. The

Court’s express purpose, as made clear in its two February 1, 2023 emails to the

parties previously attached as an exhibit to Mr. Shively’s motion, was to use

disciplinary records in consideration of sentencing because the Court understood

them potentially to relate to an alleged incitement to riot while in pretrial detention

at CTF in September 2022 or potentially some other misconduct. Upon receipt of the

DOC incident report, the Court reviewed the incident report sufficiently closely to

distinguish between those portions that it reviewed necessary and germane and those

portions that it “view[ed] unnecessary and ungermane” and withheld by redaction.

See Exhibit 1 (first email from Court). The Court gave the impression that the



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germane DOC incident report containing allegations of improper conduct by Mr.

Shively that it received and provided to the parties was something it would consider

in sentencing Mr. Shively the next day: “The Court relies on behavior wile in pretrial

detention, good and bad, for the purposes of sentence and may address this incident

report tomorrow during the sentencing hearing.” Id. In a second email, the Court

reaffirmed that the detailed incident report alleging pretrial misconduct was a

sentencing consideration. Id. (second email from Court). Neither the Court’s first or

second emails on February 1, 2023 referred to probation or the presentence report.

Nonetheless, the reasonable understanding from the Court’s emails was that the

Court likely would rely upon an incident report, requested and received ex parte by

the Court, that alleged that Mr. Shively had engaged in negative, violent conduct in

the jail in sentencing him the next day.

      If the defense had understood that the Court was not going to use the incident

report that it itself had requested and received, then the defense would have

proceeded to sentencing the next morning. But the Court’s email reasonably

suggested that it intended to rely upon the incident report and caused defense counsel

to think that a continuance of sentencing might be necessary. More so, the Court sent

a third email: “[I]t intends for defense counsel, Government counsel, and Mr. Shively

himself to have sufficient time to review the incident report that the Court only

received this morning. If such additional time is, in fact, necessary, the Court will

continue the sentencing hearing upon the receipt of a motion for such relief.” Id. (third

email from Court). This third email too did not mention of probation or the PSR.



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Defense counsel reasonably relied upon the three emails from the Court to seek the

government’s concurrence in a defense motion to continue the February 2, 2023

sentencing hearing rather than proceed forward upon receipt of DOC records alleging

misconduct by Mr. Shively at CTF. The Court granted the defense motion and

continued sentencing to February 28, 2023.

      Mr. Shively subsequently moved to recuse and disqualify the Court. In a

February 22, 2023 email to the parties, the Court advised, “[T]he Court intends to set

a hearing to update and correct the factual record and to discuss the pending motion

to recuse,” said that probation would be at the hearing, sought the parties availability

for a February 24, 2023 hearing. At the hearing, the Court stated that certain aspects

of its February 1, 2023 emails were inaccurate statements authored by Court

chambers staff without the Court’s knowledge or approval. The Court further advised

that probation had separately received records from DOC, and that probation was

going to do an addendum to the PSR that accounted for the records it received. The

Court advised that it did not know if probation had seen the records that the Court

had received, did not know exactly what DOC records probation had received, and

did not know if the DOC disciplinary records it and probation received were identical.

The Court gave the sense that, but for its “assisting” probation acquire records that

probation independently wanted by using the authority of the Court to request such

records from DOC, that probation’s request, receipt, and review of records was

distinct from the Court as part of probation’s investigatory role. The Court also noted

that probation had not previously obtained DOC records for inclusion in the PSR in



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this case or in any case of any type before in this district. The Court gave the

impression that the very unusual step for probation to continue to investigate to

update a PSR that had already been submitted as final was somehow unrelated to

the Court’s desire to see DOC records relating to Mr. Shively.

      The record is confusing at best as to probation’s role. When asked on February

24, 2023, the probation officer stated that she had only requested and received the

records the same week as the February 24, 2023 hearing, estimating that her request

was done on the Wednesday of the week (which would be February 22nd, the same

day as the Court’s email to counsel about scheduling a hearing with probation’s

presence). It is these records whose contents will inform the PSR as to Mr. Shively’s

DOC disciplinary record that the Court will consider for sentencing purposes.

      Notably, probation did not possess these records as of Mr. Shively’s February

2, 2023 sentencing hearing. If Mr. Shively had proceeded to sentencing on February

2, 2023, probation did not have possess records, and, according to the Court, the Court

would not have considered the contents of any DOC records for sentencing. Accepting

the Court’s February 24th statement that it would not rely upon the records that it

received directly from DOC on February 1st, Mr. Shively’s counsel made a significant

error in not proceeding forward to sentencing on February 2nd. But upon having itself

received those records, a reasonable observer must be skeptical as to if the Court truly

have gone forward without consideration of a known DOC incident report.

      In any event, the appearance – if not the reality – is that any distinction

between records received directly by the Court from DOC and records received by



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probation from DOC is chimerical. This Court wanted to see Mr. Shively’s disciplinary

file, and one way or another, it was going to, and now will, consider such records.

Once it was apparently realized to be improper to rely upon records that the Court

requested and received ex parte, the Court may fail to see that it is also improper to

rely upon the content of disciplinary records whose receipt was caused by the Court’s

initial improper action. One set of DOC disciplinary records simply substitutes for

another, upon the Court’s providing the first set to the parties that reasonably

induced defense counsel to continue the sentencing hearing, which created the

opportunity, unbeknownst to defense counsel, for the second set to be generated and

incorporated into the formal sentencing record in substitution of the first. While

perhaps unintentional, an objective observer might see this as an inadvertent bait-

and-switch, which defense counsel acted-upon to Mr. Shively’s detriment. At the very

least, the Court must see that the circumstances might reasonably cause a wedge

between Mr. Shively and his court-appointed defense counsel at a particularly

auspicious moment of the representation.

      The challenges to the Court’s keeping the case for sentencing continue with a

review of the timeline of communications and actions. It appears that the Court had

communications of some type with the U.S. Marshall, U.S. Probation, and the D.C.

Department of Corrections about Mr. Shively’s record within DOC and about Mr.

Shively’s sentencing hearing. It also appears that at least U.S. Probation and the D.C.

Department of Corrections had communications together about Mr. Shively. Of

course, the supervisor of probation has not been heard from directly. Nor has the



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General Counsel or anyone else from the Department of Corrections. Nor has the U.S.

Marshall. For each, only limited hearsay understandings exist. The probation officer

who was in the courtroom on February 24th, the author of the PSR, provided

inconsistent information as to when probation requested Mr. Shively’s records as to

when the Court understood and reported that someone else from probation had said

probation made its request to DOC. So much appears to have occurred ex parte, off-

the-record, behind-closed-doors, whether by email or telephone – with none of it

allowing for knowledge or input of Mr. Shively or his defense counsel. There is an

appearance of improper communications and actions generally and of extrajudicial

action as it relates to the Court’s personal investigation to obtain Mr. Shively’s DOC

records. This Court has directed the ability for the parties to obtain an expedited

transcript of the February 24th hearing and counsel may order it, but, with all respect,

that hearing raised as many questions as to the how we got to this place as it

answered.2 Regrettably, the Court is inflicted with an appearance of partiality that



2 The record is murky as the timing, form, and content of communications between
and among the Court, the Department of Communications, U.S. Probation, and the
U.S. Marshal. It appears that there were both phone calls and emails. If the Court is
inclined to deny the motion to recuse and disqualify, the defense moves that the Court
make as part of the record all written communications that relate to facts here
between the Court and any representative of U.S. Probation (including the head of
Probation and the specifically assigned PSR writer), between it and the Department
of Corrections (including but not limited to the General Counsel), and between it and
the U.S. Marshal. Similarly, if inclined to deny the motion, the defense moves that
the Court order Department of Corrections, U.S. Probation, and the U.S. Marshal to
provide copies of all email correspondence among each of them, and with the Court,
for inclusion in the record for appellate review. And because, but for what appeared
to be a contrary statement from the PSR writer as to when she initiated contact with
the Department of Corrections for records there are no direct representations from
the head of probation, the general counsel of DOC, and the U.S. Marshal, the defense
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prejudices Mr. Shively, who now has an attorney with whom Mr. Shively reasonably

has less confidence and trust, and who now is proceeding to sentencing with the

impending inclusion of damaging disciplinary records that might otherwise not have

been before the Court.

      At the February 24 hearing, the Court referred to United States v. Burger, 964

F.2d 1065 (10th Cir. 1992). Respectfully, that case does not support denial of the

motion. In Burger, after the defendant was sentenced, he moved for reconsideration

and to recuse the sentencing court based upon the incorrect understanding taken

from media reports that the district court itself directly received two letters from the

FCIC related to restitution in advance of sentencing. In the wake of such

gamesmanship, the district court denied the motion. Among the district court’s

finding, most significantly the court found that the “letters were not used in

determining Burger’s sentence,” 64 F.2d at 1069 and that the sentence was based on

“[the court’s] personal knowledge derived from presiding over the lengthy trial of

defendants’ alleged co-conspirators, id. (quotation omitted). Additionally, the FDIC’s

letters were given to the probation department for inclusion in the PSR. Id. Applying

a deferential standard of review, the Tenth Circuit held that the district court did not

abuse its discretion in declining to recuse. Id.




moves that the Court order that each participant in the communications among each
other and the Court concerning Mr. Shively’s DOC record and/or sentencing submit
a written statement about the communications, their timing, and their content for
the appellate record.

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      Even putting aside the obvious differences that the motion to recuse was made

after the Burger district court had sat through a lengthy trial and after the Burger

district court had already imposed an unhappily-received sentence on the defendant,

this record is materially different in significant ways, and the Court should fairly

elect to recuse. Unlike the district judge in Burger, this Court itself initiated ex parte

communication with the Department of Corrections. It was this Court’s own actions

that touched off the problem. And unlike in Burger, this Court itself had off-line

communications with the U.S. Probation and with the Department of Correction

about the information whose possession causes the need for recusal. While Probation

may have had separate communications with the Department of Corrections, it is not

at all clear that there was not some overlap in communications and some (perhaps

unintentional and unanticipated) influence by the Court that led Probation to

uniquely and particularly request Mr. Shively’s records.

      Here, the Court’s actions appear to have intrinsically affected the receipt and

presentation of the DOC records at Mr. Shively’s sentencing hearing. If the Court had

not taken such action, the DOC records would not have been possessed by the Court,

either party, or probation prior to Mr. Shively’s February 2, 2023 sentencing hearing.

He would have already been sentenced, absent the records. But the chain of events

starts with this Court’s requesting Mr. Shively’s DOC records and ends with this

Court’s ordering probation to file an addendum to the PSR to incorporate the records

in the formal sentencing record for consideration at the sentencing hearing. See

February 24, 2023 NEF. This Court, unlike that in Burger, has been hands-on, and



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the Court’s active involvement outside the knowledge of defense counsel has

prejudiced Mr. Shively. Indeed, in denying the motion to recuse, the district court in

Burger made clear that it had not relied upon those records in setting restitution; yet

this Court has indicated the exact opposite: it fully intends to rely upon the content

of any DOC records that it has ordered probation to review and incorporate in an

updated PSR in sentencing Mr. Shively.

                                     Conclusion

      Appearances may be deceiving. Appearances are not about the truth. They are

about perception. The question is not whether the appearance of unfairness is an

accurate one. The question is not whether the Court is in fact partial and biased

against Mr. Shively. The question is whether this Court’s impartiality “might

reasonably be questioned.” If so, this Court “shall” recuse itself.

      The recusal standard is relatively low and mandatory because § 455(a) is

designed “to promote confidence in the judiciary to avoiding even the appearance of

impropriety wherever possible.” Liljeberg v. Health Servs. Acquisition Corp., 486 U.S.

847, 865 (1985). It is possible to avoid the appearance of impropriety. There is no

error or ethical lapse in recusing oneself when a fair-minded, respected judge intends

impartiality but faces a factual record that raises reasonable questions to objective

observers outside of chambers. It is possible to promote confidence in the judiciary.

The Court’s next step is simple. Now, before the sentencing hearing, and before any

appeal, the Court can and should recuse and disqualify itself. To do otherwise simply




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invites further objective speculation and skepticism about judicial bias affecting Mr.

Shively’s case and sentence.

                                       Respectfully submitted,

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                                           By Counsel


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